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                               Attachment B
                   List of Witnesses Whose Testimony
            the United States Expects to Present By Deposition

Collie Daulong, Cynthia              Dey
Eiler, Cheryl                        Carrier (AdminaStar Federal)
Erick, Matthew                       Wholesaler (Cardinal Health)
Factor, Saul D.                      Wholesaler (McKesson)
Gmeiner, Eve                         Dey
Hill, William                        Dey
Jackson, Carrie-Jean                 Dey
Johnston, Russell                    Dey
Lyle, Donald                         Wholesaler (Cardinal Health)
Marrs, Pamela                        Dey
Minne, Kristen                       Publisher (Thompson PDR Inc.)
Mozak, Robert Francis                Dey
Pope, Mark                           Boehringer / Dey
Rice, Charles                        Dey
Ricks-Bey, Michael T                 Dey
Walker, Gary                         Dey




5/11/2010
